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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:25-cv-00061-GPG-KAS

 MICHELLE RAMIREZ,

         Plaintiff,
 v.

THE ELEVANCE HEALTH COMPANIES,
INC.,

         Defendant.


                STIPULATED PROPOSED FED. R. EVIDENCE 502(d) ORDER


      The production of privileged or work-product protected documents, electronically stored

information (“ESI”) or information, whether inadvertently or otherwise, is not a waiver of the

privilege or protection from discovery in this case or in any other federal or state proceeding. This

Stipulated Order shall be interpreted to provide the maximum protection allowed by Federal Rule

of Evidence 502(d).

      Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a review

of documents, ESI or information (including metadata) for relevance, responsiveness and/or

segregation of privileged and/or protected information before production.

         Dated: June ____, 2025.

                                                         By the Court:

                                                         ______________________________
                                                         Honorable Kathryn A. Starnella
                                                         United States Magistrate Judge
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       Approved by:

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